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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

 In re:                                          )
                                                 )
                                                 )
 CHEE WEI FONG                                   )    Case No. 20-16813-JGR
                                                 )
                       Debtor.                   )    Chapter 11
                                                 )    Subchapter V

                                 CERTIFICATE OF SERVICE


 L.B.R. 9013-1 CERTIFICATE OF SERVICE OF MOTION, NOTICE AND PROPOSED
 ORDER
   The undersigned certifies that on February 11, 2021, I served by prepaid first class mail [or
 (other acceptable means, i.e. via hand delivery] a copy of the Application to Employ Haynie and
 Company, CPAs as Accountant, Notice, and Proposed Order on all parties against whom relief is
 sought and those otherwise entitled to service pursuant to FED.R.BANKR. P. and these L.B.R. at
 the following addresses:

 Via U.S. Mail and/or Email:
 Chee Wei Fong
 3751 W. 136th Avenue, Unit S2
 Broomfield, CO 80023

 Via CM/ECF:
 Nancy D. Miller                                      Ingrid J. DeFranco
 Michael C. Payne                                     Abbey Dreher
 Alison Goldenberg                                    Joli A. Lofstedt
 U.S. Trustee

 L.B.R. 2002-1 CERTIFICATE OF SERVICE OF NOTICE
 The undersigned further certifies that on February 11, 2021, I served by prepaid first class mail
  [or (other acceptable means, i.e. via hand delivery] a copy of the foregoing Notice in accordance
 with FED.R.BANKR.P. 2002 and 11 U.S.C. §342(c) (as applicable) on parties in interest contained
 on the attached list, which is a copy of the Court's Creditor Address Mailing Matrix for this case,
 obtained from PACER on February 11, 2021, and, if applicable, other interested parties the movant
 mailed notice at the following addresses:

                                                            /s/Teresa Neely-White
                                                     By:
                                                           For Buechler Law Office, L.L.C.
              Case:20-16813-JGR Doc#:144 Filed:02/11/21              Entered:02/11/21 12:46:07 Page2 of 3
Label Matrix for local noticing       American Express National Bank                American Express Personal Loans
1082-1                                c/o Becket and Lee LLP                        PO Box 650448
Case 20-16813-JGR                     PO Box 3001                                   Dallas, TX 75265-0448
District of Colorado                  Malvern PA 19355-0701
Denver
Thu Feb 11 12:30:38 MST 2021
Angry Beavers LLC                     Angry Beavers, LLC                            Colorado Department Of Revenue
6909 Shannon Ct                       6909 Shannon Court                            1375 Sherman St.
Loveland, CO 80538-9428               Loveland, CO 80538-9428                       Room 504
                                                                                    Attention Bankruptcy Unit
                                                                                    Denver CO 80261-3000

Ingrid J. DeFranco                    Dickensheet & Associates                      Abbey Dreher
PO Box 128                            1501 West Wesley Ave                          4004 Belt Line Rd.
Brighton, CO 80601-0128               Denver, CO 80223-4238                         Ste. 100
                                                                                    Addison, TX 75001-4320


Edward Klen                           Extraction Oil & Gas Company                  Chee Wei Fong
6909 Shannon Ct                       370 17th Street                               3751 W. 136th Avenue, Unit S2
Loveland, CO 80538-9428               Suite 5300                                    Broomfield, CO 80023-8149
                                      Denver, CO 80202-5653


Alison Goldenberg                     Great Western Bank                            Great Western Bank
Byron G. Rogers Federal Building      Coan, Payton & Payne, LLC                     3800 E. 15th Street
1961 Stout St.                        Michael C. Payne, Esq.                        Loveland, CO 80538-8713
Ste. 12-200                           1711 61st Avenue, Unit 100
Denver, CO 80294-6004                 Greeley, CO 80634-3046

Great Western Bank                    Gunsmoke LLC, Happy Beavers LLC, Armed B      Michael J. Guyerson
c/o Coan, Payton & Payne, LLC         697 N Denver Ave                              999 18th St.
1711 61st Ave., Ste. 100              Loveland, CO 80537-5143                       Ste., 1230 South
Greeley, CO 80634-3046                                                              Denver, CO 80202-2414


IRS                                   (p)JOLI A LOFSTEDT                            Michael Payne -Coan, Payton & Payne, LLC
PO Box 7346                           ATTN JOLI A LOFSTEDT TRUSTEE                  1711 61st Ave
Philadelphia PA 19101-7346            PO BOX 270561                                 Unit 100
                                      LOUISVILLE CO 80027-5009                      Greeley, CO 80634-3046


Nancy D. Miller                       Nancy Miller                                  Nancy Miller, Esq
PO Box 1015                           445 Union Blvd                                445 Union Blvd
Boulder, CO 80306-1015                Suite 209                                     Suite 209
                                      Denver, CO 80228-1241                         Denver, CO 80228-1241


Michael C. Payne                      Premier Members Credit Union                  Quicken Loans
c/o Coan Payton & Payne               5505 Arapahoe Ave                             PO Box 6577
1711 61st Avenue                      Boulder, CO 80303-1261                        Carol Stream, IL 60197-6577
Suite 100
Greeley, CO 80634-3046

Quicken Loans, LLC                    Quicken Loans, LLC FKA Quicken Loans Inc.     Richard Weingarten
c/o BFW                               635 Woodward Ave.                             1133 Northridge Dr
4004 Belt Line Road, Ste. 100         Detroit, MI 48226-3408                        Erie, CO 80516-9053
Addison, TX 75001-4320
              Case:20-16813-JGR Doc#:144 Filed:02/11/21                              Entered:02/11/21 12:46:07 Page3 of 3
Securities and Exchange Commission                   Securities and Exchange Commission                   Stephen Klen
Central Regional Office                              Midwest Regional Office                              11605 Harpenden Ln
1961 Stout St.                                       175 W. Jackson Blvd.                                 Fort Lupton, CO 80621-9603
Ste. 1700                                            Ste. 900
Denver CO 80294-1700                                 Chicago IL 60604-2815

Synchrony Bank                                       Synchrony Bank                                       US Trustee
PO Box 960061                                        c/o PRA Receivables Management, LLC                  Byron G. Rogers Federal Building
Orlando, FL 32896-0061                               PO Box 41021                                         1961 Stout St.
                                                     Norfolk VA 23541-1021                                Ste. 12-200
                                                                                                          Denver, CO 80294-6004

Wells Fargo                                          Wells Fargo Bank, N.A.
PO Box 54349                                         435 Ford Road, Suite 300
Los Angeles, CA 90054-0349                           St. Louis Park, MN 55426-4938




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Joli A. Lofstedt
Joli A. Lofstedt,Trustee
PO Box 270561
Louisville, CO 80027




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Angry Beavers, LLC                                (u)Edward J. Klen                                    (u)Stephen J. Klen




(d)Synchrony Bank                                    End of Label Matrix
c/o PRA Receivables Management, LLC                  Mailable recipients    37
PO Box 41021                                         Bypassed recipients     4
Norfolk, VA 23541-1021                               Total                  41
